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Fii| in this information to identify your case:

 

Debtom JOEL CROSBY S|NNO`|_|'

 

 

 

First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Midd|e Name Last Name

United States Bankruptcy Court for the: DiStrict of Nevada E

Case number 19-1 1372-BTB El Check if this is an
(|f knowni

amended filing

 

Official Form 1068um
Summary of Your Assets and Liabi|ities and Certain Statistical information 12115
Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct

information. Fi|| out all of your schedules first; then complete the information on this fonn. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

 

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ M
1b. Copy line 62, Total personal properly, from Schedule A/B ............................................................................................... $ 18,402-39
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 438,402_39
w Summarize Your Liabi|ities
Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Propen‘y (Official Form 106D) 8 4 8 8 0 5 0 0
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ 4

3. Schedule EH:: Creditors Who Have Unsecured Claims (Ochial Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EH: ............................................ $

0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................

+ $ 5,635.03

 

Your total liabilities $ w

 

 

 

m Summarize Your income and Expenses

4. Schedule I: Yourlncome (Ofiicial Form 106|)

Copy your combined monthly income from line 12 of Schedule l .......................................................................................... $ M
5. Schedule J: Your Expenses (Ofiicial Form 106J)
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ M

Ofiicial Form 106Sum Summary of Your Assets and Liabi|ities and Certain Statistica| information page 1 of 2

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Debtor1 JOEL cRoSBY SlNNoTT Case numberWm,,,",19-11372-Ble

 

 

Firs‘i Nama Midd|e Name Las‘t Name

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Oflicial
Form 122A-1 Line 11; oR, Form 1223 Line 11; oR, Form 1220-1 Line 14. $ 2,800.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the foilowing:

9a. Domestic support obligations (Copy line 6a.) $_0'00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0'00
90. Claims for death or personal injury while you were intoxicated. (Copy line 60.) $_0'00
9d. Student loans. (Copy line 6f.) $A
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_OO

priority claims. (Copy line 69.) _
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0-00
99. Total. Add lines 9a through 9f. $ 419-11

 

 

 

Ochial Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistica| information page 2 of 2

